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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No. 18-CV-02658-WJM-SKC

  GIROLAMO FRANCESCO MESSERI,

         Plaintiff,

  v.

  UNIVERSITY OF COLORADO, BOULDER,
  Though its Board, THE REGENTS OF THE
  UNIVERSITY OF COLORADO,
  PHILIP P. DISTEFANO, individually and in his official capacity as Chancellor of the University
        of Colorado, Boulder,
  VALERIE SIMONS, individually,
  REGINA TIRELLA, individually,
  JESSICA POLINI, individually,
  LAUREN HASSELBACHER, individually,
  CAROLE CAPSALIS, individually,
  JOHN THOMAS GALLOWAY, individually, and
  AGNIESZKA LYNCH, individually.

        Defendants.
  ______________________________________________________________________________

               UNOPPOSED MOTION TO EXTEND TIME FOR DISCOVERY

  ______________________________________________________________________________

         Plaintiff, through his attorney, respectfully requests this Court grant an additional 60 days

  for discovery deadlines occurring after the filing of this motion. As grounds we state:

       Confer: Mr. Savela emailed Defense Counsel, Erica Weston, requesting her position of an

       extension of time on all deadlines of 60 days on June 6, 2019. Today, June 12, 2019, Ms.

       Weston emailed she is not opposed to extending any future deadlines for 60 days, but not

       any past deadlines.
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   1. Plaintiff was previously represented by Andrew Miltenberg and his law firm, experts in

      plaintiff litigation of these issues in Federal Court.

   2. Attorney Jason Savela joined the case based on his knowledge of the facts after successfully

      defending the state criminal case with a dismissal by the prosecutor.

          a. This role was never to be lead counsel, instead to help with local issues on the facts.

          b. Mr. Savela is a novice on this type of case, and Federal civil procedure.

          c. Mr. Savela has only appeared in Federal Court on one criminal case, years ago.

   3. Due to a fee dispute, Mr. Miltenberg withdrew.

   4. Plaintiff requested Mr. Savela to take over the case.

   5. With reluctance, and many warnings to Plaintiff, Mr. Savela agreed to take over the case.

   6. Mr. Savela gathered the file the best he could, pulling all information from PACER,

      requesting the file from Mr. Miltenberg, requesting the file from Plaintiff, and requesting all

      discovery and discovery requests from Defense counsel.

          a. With several weeks passing, Mr. Savela still does not have a full copy of the file.

          b. It is estimated that Mr. Savela has about half of the file.

   7. While we attempt to keep up with the discovery deadlines, we have not been able to do so.

          a. We expect to have complied with all discovery requests by the end of this week.

   8. Defense counsel informs Mr. Savela that initial discovery was provided by Mr. Miltenberg,

      but documents supporting the same are missing.
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          a. To knowledge, we do not have those documents.

          b. It is believed they were filed by Mr. Miltenberg months ago, but not confirmed.

          c. We are working to provide anything that is missing.

   9. Counsel would like to remain on schedule, it appears the change in counsel, combined with

      difficulty obtaining the file, has impeded that desire.

   10. While we could ask for extensions piecemeal, it seems like a single request to extend all

      deadlines by 60 days would be best.

   11. The next deadline is for expert disclosure on June 14.

          a. We have 2 experts working on their disclosures.

          b. Both have asked for deposition transcripts and interrogatory answers to help them

              write their reports.

                  i. These have not been completed at this time.

          c. We expect to have a general description of testimony, some specifics and all other

              disclosures by June 14.

          d. We will need to update these disclosures as additional information is obtained.

          e. It is possible that we need more time to complete basic expert discovery.

   12. Counsel for plaintiff and defense have discussed deposition dates in July.

          a. We hope to keep to that schedule for most, if not all witnesses.

          b. The deadline is the July 30.
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   13. Plaintiff counsel continues to work on the case to meet deadlines.

          a. If the full file were produced to Mr. Savela when requested, we might have been

              able to comply with the deadlines.

          b. As we still do not have all of it, we are requesting a 60 day extension of all

              discovery deadlines after this motion, specifically expert disclosure and completion

              of discovery.

   14. If the Court is unwilling to extend all discovery deadlines after the filing of this motion by

      60 days, we request the Court extend the expert deadline by 30 days and allow any reports

      to be updated after depositions and other discovery is complete.

   15. The Plaintiff has not requested any extensions in the past. The Defendants requested

      additional time to respond to a motion without objection by the Plaintiff.

  RESPECTFULLY SUBMITTED, this 12th day of June, 2019.

                                                _/s/ Jason William Savela___
                                                Jason William Savela
                                                The Savela Law Firm, PC
                                                250 Arapahoe Avenue, Suite 301
                                                Boulder, CO 80302
                                                Telephone: (303) 865-4545
                                                FAX: (303) 449-9349
                                                E-Mail: jason@savelaw.net
                                                Attorney for Plaintiff, Girolamo Messeri
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                                 CERTIFICATE OF SERVICE

  I hereby certify that on June 12, 2019, I served the foregoing MOTION TO EXTEND TIME

  FOR DISCOVERY via email on the following counsel of record for Defendants:


  Erica Weston, Esq.
  Associate University Counsel
  University of Colorado
  Office of University Counsel
  1800 Grant Street, Suite 700
  Denver, CO 80203
  Attorney for Defendants
  erica.weston@cu.edu

                                           _/s/ Jason William Savela___
                                           Jason William Savela
                                           The Savela Law Firm, PC
                                           250 Arapahoe Avenue, Suite 301
                                           Boulder, CO 80302
                                           Telephone: (303) 865-4545
                                           FAX: (303) 449-9349
                                           E-Mail: jason@savelaw.net
                                           Attorney for Plaintiff, Girolamo Messeri
